                     2:09-md-02104-JES # 1               Filed: 12/04/09       Page 1 of 3
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                                                                          Friday, 04 December, 2009 03:16:04 PM
                                                                                     Clerk, U.S. District Court, ILCD



                                                                                          UNiTED STATES
     ATTEST                                                                             JUDICIAL PANEL ON
                                                                                      MULTIDISTRICT LITIGATION
                     2009
                                                                                           Dec 03,2009
                               UNITED STATES JUDICIAL PANEL
                                            on
                                MULTIDISTRICT LITIGATION


IN RE: IKO ROOFING SHINGLE
PRODUCTS LIABILITY LITIGATION                                                                MDL No. 2104


                                          TRANSFER ORDER



        Before the entire Panel: Defendants IKO Manufacturing, Inc., IKO Chicago, Inc., and IKO
Pacific, Inc. (collectively IKO) move, pursuant to 28 U.S.C. § 1407, for coordinated or consolidated
pretrial proceedings of this litigation in the Northern District of Illinois. The defendants' motion
encompasses four actions pending, respectively, in the Northern District of Illinois, the District ofNew
Jersey, the Western District ofNew York and the Western District ofWashington, as listed on Schedule
A. 1

        Plaintiffs in the four actions encompassed by the motion initially supported centralization in the
Western District of New York or, alternatively, the District of New Jersey; however, at oral argument
these plaintiffs argued in support of centralization in the Central District ofIllinois or, alternatively, the
Western District ofNew York. Plaintiffs in the two related actions support centralization in the Central
District of Illinois.

         On the basis ofthe papers filed and hearing session held, we find that these four actions involve
common questions offact, and that centralization under Section 1407 in the Central District of Illinois
will serve the convenience of the parties and witnesses and promote the just and efficient conduct of
this litigation. All actions share factual questions concerning alleged defects in roofing shingles
manufactured and sold by IKO. Specifically, plaintiffs allege that the shingles fail prematurely due to
moisture invasion, cracking, curling, blistering, deteriorating, blowing off the roof, or otherwise not
performing within reasonable expectations. Centralization under Section 1407 will eliminate
duplicative discovery; prevent inconsistent pretrial rulings, including with respect to class certification
issues; and conserve the resources of the parties, their counsel and the judiciary.




   I The parties have notified the Panel of two related actions pending, respectively, in the Central

District of Illinois and the Southern District of Illinois. These actions and any other related actions are
potential tag-along actions. See Rules 7.4 and 7.5, R.P.J.P.M.L., 199 F.R.D. 425, 435-36 (2001).
                    2:09-md-02104-JES # 1             Filed: 12/04/09         Page 2 of 3




                                                   -2-

        We are persuaded that the Central District of Illinois is an appropriate forum for this docket.
Certain IKO facilities are located in this district, so relevant documents and witnesses are likely found
there. Centralization in this district also permits the Panel to effect the Section 1407 assignment to a
transferee district that is not currently assigned to other multidistrict litigation dockets and to a
transferee judge who has a caseload favorable to accepting the assignment.

        IT IS THEREFORE ORDERED that, pursuant to 28 U.S.C. § 1407, the actions listed on
Schedule A are transferred to the Central District ofIllinois and, with the consent ofthat court, assigned
to the Honorable Michael Patrick McCuskey for coordinated or consolidated pretrial proceedings.


                                       PANEL ON MULTIDISTRICT LITIGATION


                                              ?4'/~"John G. Heyburn II
                                                        Chairman

                                       Robert L. Miller, Jr.                     Kathryn H. Vratil
                                       David R. Hansen                           W. Royal Furgeson, Jr.
                                       Frank C. Damrell, Jr.                     David G. Trager




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IN RE: IKO ROOFING SHINGLE
PRODUCTS LIABILITY LITIGATION                                                     MDL No. 2104


                                            SCHEDULE A


            Northern District of Illinois

    Pamela D. McNeil, et ai. v. IKO Manufacturing, Inc., et aI., C.A. No.1 :09-4443

            District of New Jersey

    Debra Zanetti v. IKO Manufacturing, Inc., C.A. No. 2:09-2017

            Western District of New York

     Gerald P. Czuba, et ai. v. IKO Manufacturing, Inc., et aI., C.A. No.1 :09-409

            Western District of Washington

    Michael Hight, et ai. v. IKO Manufacturing, Inc., et aI., C.A. No. 2:09-887
